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   THOMAS G       . BRUTON
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                                                                                     THOMAS G. ERUTON
                                                                                  CLERK U.S. DISTRICT COURT




       (Enter above the full name
      of the plaintiff or plaintiffs in
      this action)

                                 vs.                  Case No:         t(!;    tl,)c $fu
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     -iltiro
      Da&.rrlan*s.
     defendants in this action. Do not
     use "et al-")

     CIIBCK ONE ONLY:

         /             COMPLAINT LINDER TIIE CIVIL RIGITTS ACT, TTTLF4? SECTION 1983
                       U.S. Code (state, county, or municipal defendants)

                       COMPLATNTITNDER THE CCNSTITUTION ("BMNS" ACTIOI9, TITLE
                       28 SECTION 1331 U.S. Code (federal defendants)

                       OTIIER (cite statute, if known)

    BEFOKE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRT]CTIONS FOR
          " FOLLOW THESE INSTRUCTIONS CAREFULLY.
    FILING.
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  I.        Plaintiff(s):

            A.        Name:

                                 aiiases: Gre$nf
                                                  t/, lireg , sh^cll 6
            R         List aii

            C.       Prisoner identification   number t/- trglf ?
            D.      Place of present ccnfinement:

                    Address: ,?l"rn& nf. Brln*""          Ave-.

         (If there is more than one plaintiff, then each pJaintiff must list his or her name, aliases,
         I.D. number, and current address according to the above format on a separate sheet of
         paper.)

II.       Defendant(s):
          (In A below, place the full name of the first defendant in the first blank, his or her official
         position in the second blank, and his or her piace of employment in the third blank. Space
         for two additional defendants is provided in B and C.)

        A.        Defendant:

                  'Fi+r  ^-
                   -t lLrC-



                  Place of Employm.rt,

        B.       Defendant:        Liso   tn   y.r+
                 Titte:       Srm.. S.,f".lrL"ior]        #   f^.rr..*,."   ol T"'J,.*{ofo.
                                    lfDD&
                 Place of Employment,

       C.        Defendant: l,("J*o Ch"nil".

                 Title:
                                                      I
                 Place of Employmenr:     3*{ic"J         Ao"n TDOC
       (If you have more than ihree defendanis, ihen all additional ciefencianis must be iistecj
       according to the above format on a separate sheet of paper.)
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D"    Duf"n.lon|: S. A. Cohn,*
     *[t\" :
              fo.^"r Dir".]., # *ln. D" Jr.J
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III.   Exhaustion of Administrative Remedies

       You are required to exhaust all your available adrninistrative remedies before bringing an
       action in federal court.

       A.      Is there a grievance procedure available at your institution?

               YBS d         No ( ) If there is no grievance procedure, skip ro F.
       B.      Have you filed a grievance concerning the facts in this complaint?

               yES     (/)   No   (   )

       C.     If your answer is YES:

                       What steps diC you take?




                       What was the result?




  D.        If your   answer is NO, explain why not:




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                                                              ,/
     E.    Is the grievance procedure now completed? yES   (1NO (     )
     F.    If there is no grievance procedure in ihe institution. did you complain   io
           authorities? YES( ) NO( ) alNfA

    G.     If your answer is YES:

           1.    \Mhat
                 $trat steps     vntt take?
                       sfens did you  tatsc)




                What was the result?




  Ei. if your answer is i.[O, expiain why noi:        t
                                                 i)




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   ry.          List ALL Iawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
                court (including the central and southern Districts of Illinois):

                A.      Name of case and docket nurnber:


              B.       Approxirnate date of filing lawsuit:

            (1
                       List all plaintiffs (if you had co-plainiiffs), inciuding arry aliases:    rrh


                                                 I
           D.         List all defendants: p/A




           E.         Court.in which the iawsuit was fiied      (if   federai court, name the district;   if state
                      court, name the county):
                                                           "/
         F.           Name of judge to whom case was assigned:


                                                 I
         G.          Basic claim   mad,e: u/l


      H.             Disposition of this case (for example: Was the case dismissed? Was it appeated?
                             pending?):
                     Is it still                           uh

      I.             Approximate date of   disposition 4

IF YOU IIAVE FILED MORE TIIAN ONE LAWSTIIT, TIIEN YOU MUST DESCRIBE
TI{E ADDITIONAL LAWSI.]ITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF How MAi\rY CASES YOU IIAVE pirBvtouSt,y FILED,
YOU }YILL NOT tsE EXCUSED FROM FILLING OTIT THiS SECTION COMPLETELY;
AND FAILTIRE TO DO SO MAY RESIILT IN DISMISSAL OF YOTIR CASE. CO:
PLAINTIFFS MUST ALSO LIST ALL CASES TI{EY HAVE FILED.




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V.       Statement of Claim:

        State here as briefly as possible the facts of your case. Describe precisely how each
        defendant i's involved . Include also the names of other persons involved, dates , and places.
        Do not give any legal arguments or cite any cases or statutes. If you intend to allege
        a number of related claims, number and set forth each claim in a separate paragraph. (Uie
        as much space as you need. Attach extra sheets if necessary.)




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     State briefly exactly what you want the court to do for       you. Make no legal arguments.
     Cite no cases or statutes.




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                                                        CERTIFICATION

                         By signing this Complaint,      I certify that the facts stated in this
                         Complaint are true to the best of my knowledge, information and
                         belief. I understand that if this certification is not correct, I may be
                         subject to sanctions by the Court.

                         Signed    rnis I        day   of   ilrrrl     ,   zo I lo




                        (Signatu                       aintiffs)


                        (Print name)


                        (LD. Number)




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